             Case 2:23-cv-00630-JLR Document 33 Filed 10/05/23 Page 1 of 3




                                                       THE HONORABLE JAMES L. ROBART
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 8                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 9                                     AT SEATTLE
10   ANNA PATRICK, ET AL., individually and on         Case No.: 2:23-cv-00630 JLR
     behalf of all others similarly situated,
11
                                  Plaintiffs,          DECLARATION OF JACK M.
12                                                     LOVEJOY IN SUPPORT OF
            v.                                         DEFENDANT HAPPY HOUR MEDIA
13                                                     GROUP, LLC’S MOTION TO DISMISS
     DAVID L. RAMSEY, III, individually; HAPPY         THE COMPLAINT
14   HOUR MEDIA GROUP, LLC, a Washington
     limited liability company; THE LAMPO              NOTED ON MOTION CALENDAR:
15   GROUP, LLC, a Tennessee limited liability         October 27, 2023
     company,
16
                                  Defendants.
17

18   Jack M. Lovejoy states and declares as follows:
19          1.     I am an attorney at Corr Cronin LLP, attorneys of record for Defendant Happy
20   Hour Media Group, LLC in the above-captioned matter. I am over eighteen years of age,
21   competent to testify and submit this declaration based upon personal knowledge in support of
22   Happy Hour Media Group, LLC’s Motion to Dismiss.
23          2.     Attached hereto as Exhibit A is a true and correct copy of the Complaint filed
24   in State of Washington v. Reed Hein & Associates, LLC, et al., King County Superior Court
25   Case No. 20-2-03141-1 SEA.



                                                                             CORR CRONIN LLP
      DECLARATION OF JACK M. LOVEJOY IN SUPPORT                          1015 Second Avenue, Floor 10
      OF DEFENDANT HAPPY HOUR MEDIA GROUP,                              Seattle, Washington 98104-1001
      LLC’S MOTION TO DISMISS                                                  Tel (206) 625-8600
                                                                               Fax (206) 625-0900
      Case No.: 2:23-cv-00630 JLR - 1
             Case 2:23-cv-00630-JLR Document 33 Filed 10/05/23 Page 2 of 3




 1          3.      Attached hereto as Exhibits 1, 23, 24, 24-1, 25, 26, 27, 38, 43, 44, 44-1, and 45

 2   are true and correct copies of docket entries from Adolph v. Reed Hein & Associates et al.,

 3   United States District Court, Western District of Washington, Case No. 2:21-cv-01378-BJR.

 4   Each exhibit is numbered with its corresponding number on the docket of the Adolph lawsuit.

 5   For example, Exhibit 1 is Dkt. 1, Exhibit 23 is Dkt. 23, and so on.

 6

 7          I declare under penalty of perjury that the foregoing is true.

 8
 9   DATED this 5th day of October, 2023 at Seattle, Washington.

10
                                                   s/ Jack M. Lovejoy
11                                                 Jack M. Lovejoy, WSBA No. 36962
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                                                                                  CORR CRONIN LLP
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      LLC’S MOTION TO DISMISS                                                       Tel (206) 625-8600
                                                                                    Fax (206) 625-0900
      Case No.: 2:23-cv-00630 JLR - 2
              Case 2:23-cv-00630-JLR Document 33 Filed 10/05/23 Page 3 of 3




 1                                   CERTIFICATE OF SERVICE

 2
            I hereby certify that on October 5, 2023, I caused the foregoing document to be
 3
     electronically filed with the Clerk of the Court using the CM/ECF system, which will send
 4
     notification of such filing to all counsel of record.
 5
                                                    s/ Wen Cruz
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                                                    Wen Cruz
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                                                                               CORR CRONIN LLP
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                                                                                 Fax (206) 625-0900
      Case No.: 2:23-cv-00630 JLR - 3
